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                IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MARYLAND
                               Baltimore Division
In re:                                  *
       DAMOND DURANT                    *         CASE NO.: 17-20232
       SHARAE DURANT,                   *         CHAPTER 7
                 Debtors.               *
*      *   *     *       *   *       *     *      *      *      *      *                 *
DAMOND DURANT, JR.
                 Plaintiff,
vs.                                               Adversary Proceeding
                                                  No.: 17-00350
DAMOND DURANT, SR.,
                 Defendant.
       *   *     *       *   *       *     *      *      *      *      *
               MOTION TO DISIMSS ADVERSARY COMPLAINT

        NOW COMES, Damond Durant and Sharae Durant, Debtors (“Defendants”) by and
through undersigned counsel and pursuant to Fed.R.Civ.Pro. 12(b)(5) and Fed.R.Bankr.P. 7004
respectfully move this Court to dismiss the Adversary Complaint entered at Docket 1; and, in
support thereof state:

       1.     On July 28, 2017, Debtors filed for relief under Chapter 13 thereby commencing
              Case No. 17-20232.

       2.     On September 17, 2017, Plaintiff filed a Complaint in this Court thereby
              commencing Adversary Proceeding No. 17-00350.

       3.     On October 13, 2017, the Court issued it’s Summons at Docket 7.

       4.     On November 5, 2017, Plaintiff filed Notice of Service at Docket 10.

       5.     Pursuant to Fed.R.Bankr.P. 7004, the delivery of summons and complaint must be
              made within 7 days after the summons is issued.

       6.     The service of the summons and complaint was made 23 days after the summons
              was issued.

THAT NOTICE IS HEREBY GIVEN TO THAT ON OR BEFORE DECEMBER 4, 2017
THE PLAINTIFF SHALL FILE AND SERVE A RESPONSIVE MEMORANDUM
OPPOSING THE MOTION AND SHALL REQUEST A HEARING IF DESIRED, AND
THAT A HEARING MAY BE HELD AT THE COURT’S DISCRETION.
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       WHEREFORE, Defendant respectfully request that the Adversary Complaint be
dismissed; and for such other and further relief as is appropriate.


Date: November 15, 2017                        _____/s/____________________
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